Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 1 of 44 Page |D #:564

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18
UNITED STATES DISTRICT COURT

19
20 CENTRAL DISTRICT OF CALIFORNIA
21 FRANK LEITZBACH, an indiv_idl_lal; on Case No. 2:16-cv-08790-GW-E

behalf of hlmself and 2111 other slmllarly
22 Situated,
23 Plaintiff, JOINT STIPULATION OF CLASS

ACTION SETTLEMENT
vS.

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25 ATLAS VA_N LINES, INC.; and DOES 1

through 50, lncluslve,
26 Defendants.
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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 2 of 44 Page |D #:565

STIPULATION OF CLASS ACTION SETTLEMENT

IT IS HEREBY STIPULATED, by and between Plaintiff Frank Leitzbach, on
behalf of himself and the Settlement Class Members, on the one hand, and Defendant
Atlas Van Lines, Inc., on the other hand, and subject to the approval of the Court, that
the Action is hereby being compromised and settled pursuant to the terms and
conditions set forth in this Joint Stipulation of Class Action Settlement and that the
Court shall make and enter judgment subject to the definitions, recitals and terms set
forth herein Which by this reference become an integral part of this Agreement:

DEFINITIONS

l. “Action” means Frank Leitzbach, an individual, on behalf of himself
and all athers similarly situated v. Atlas Van Lines, Inc., and DOES l through 50
inclusive, filed on October 25, 2016, in the Los Angeles County Superior Court, and
assigned case number BC638058, and removed to the United States District Court
for the Central District of California on November 28, 2016, Where it Was assigned
case number 2:16-cv-08790-GW-E.

2. “Agreement” means this Joint Stipulation of Class Action Settlement.

3. “CAFA Notice” shall mean the notice of this Agreement required to be
served by Defendant on the appropriate federal and state agencies as required by 28
U.S.C. § 1715(b).

4. “Claim Form” means the document that Class Members must complete
and postmark or faX by the Response Deadline to receive a proportional share of the
Net Settlement Amount in the form of an Individual Settlement Payment.

5. “Class” and “Class Members” means all current and former California
resident drivers Who qualified to drive under Defendant’s United States Department
of Transportation Authority at any time from October 25, 2012 through the
Preliminary Approval Date and Who actually contracted and drove for Defendant or
one of its Agents during that period. Defendant represents that, as of November 15,

2017, there are 494 such drivers Who comprise the entire Class. Defendant also

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 3 of 44 Page |D #:566

represents that the information it has provided to Plaintiff and the claims

administrator regarding the length of qualification of each class member is accurate.

6. “Class Counsel” means Joshua H. Haffner and Graham G. Lambeit of
Haffner Law PC.
7. “Class Counsel Award” means attorneys’ fees for Class Counsel’s

litigation and resolution of this Action and their expenses and costs incurred in
connection with the Action, paid from the Gross Settlement Fund.

8. “Class Information” means information regarding Class Members that
Defendant will in good faith compile from its records and provide to the Settlement
Administrator. lt shall be formatted as a Microsoft EXcel spreadsheet and shall
include: each Class Member’s full name; last known address; last known horne
telephone number; Social Security number; start date(s) of qualification; and end
date(s) of qualification during the period from October 25, 2012 through the
Preliminary Approval Date.

9. “Class Representative” means Fi‘ank Leitzbach.

10. “Class Representative Service Award” means the amount that the Court
authorizes to be paid to the Class Representative, in addition to his Individual
Settlement Payment, in recognition of his efforts and risks in assisting with the
prosecution of the Action and in exchange for executing a General Release of
Defendant, except as provided in paragraph 47(b).

11. “Compensable Woi'kweeks” means the number of workweeks during
which Class Members qualified to drive and did drive under Defendant’s United
States Department of Transportation Authority during the period from October 25,
2012 through the Preliminary Approval Date. Using the Class Information, the
Settlement Administrator will calculate the number of Compensable Workweeks by
calculating the number of days each Class Member was qualified to drive under
Defendant’s United States Department of Transportation Authority during the period
from October 25, 2012 through the Preliminary Approval Date, dividing by seven

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 4 of 44 Page |D #:567

(7), and rounding up to the nearest whole number.

12. “Court” means the United States District Court for the Central District
of California.

13. “Counsel for Defendant” means Evan R. Moses, Robert R. Roginson,
and Christopher J. Archibald of the law firm Ogletree, Deakins, Nash, Smoak &
Stewart, P.C.

14. “Covered Period” means the period from October 25, 2012 through the
Preliminary Approval Date.

15. “Defendant” means Atlas Van Lines, lnc., and its past, present and/or
future, direct and/or indirect, officers, directors, employees, agents, representatives,
attorneys, insurers, partners, investors, shareholders, administrators, parent
companies, subsidiaries, affiliates, divisions, predecessors, successors, assigns, and
joint venturers.

16. “Effective Date” means the date sixty (60) days after the date upon
which the Court grants final approval of the Settlement if within the sixty (60) days
no notice of appeal or motion for an extension of time to file a notice of appeal is
filed; or if a timely appeal is initiated, the Effective Date shall be the date of final
resolution of that appeal (including any requests for rehearing and/or petitions for
certiorari), resulting in final judicial approval of the Settlement.

17. “Final Approval Order” means the Court’s order granting final approval
of the Settlement, which will constitute a “judgment” within the meaning of Federal
Rule of Civil Procedure 58(a).

18. “Gross Settlement Fund” means One Million Four Hundred Eighty
Thousand Dollars ($1,480,000), which sum includes the lndividual Settlement
Payments, Class Counsel Award, Class Representative Service Award, PAGA
Payment, required withholdings from Individual Settlement Payments, employer tax
contributions, and Settlement Administration Costs. This is a non-reversionary

settlement In no event shall Defendant be liable for more than $1,480,000 as a

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 5 of 44 Page |D #:568

result of this Settlement.

19. “Individual Settlement Payment” means the amount payable from the
Net Settlement Amount to each Participating Class Member.

20. “Net Settlement Amount” means the Gross Settlement Fund, less Class
Counsel Award, Class Representative Service Award, PAGA Payment, required
withholdings from Individual Settlement Payments, employer tax contributions, and
Settlement Administration Costs.

21. “Notice Packet” means the Notice of Proposed Class Action Settlement
and Claim Form, substantially in the forms attached as Exhibits 1 and 2,
respectively.

22. “PAGA Payment” means payment to the California Labor and
Workforce Development Agency under the Private Attorneys General Act of 2004.

23. “Participating Class Member” means a Class Member who submits a
valid Claim Form.

24. “Parties” means Plaintiff and Defendant, collectively, and “Party” shall
mean either Plaintiff or Defendant, individually.

25. “Payment Ratio” means the respective Compensable Workweeks for
each Participating Class Member divided by the total Compensable Workweeks for
all Participating Class Members.

26. “Plaintiff” means Frank Leitzbach.

27. “Preliminary Approval Date” means the date on which the Court enters
the Preliminary Approval Order.

28. “Preliminary Approval Order” means the Court’s order granting
preliminary approval of the Settlement, ordering the mailing of the Notice Packet
and scheduling the Fairness Hearing.

29. “Qualified Settlement Fund” or “QSF” means the qualified settlement
fund set up by the Settlement Administrator into which the Gross Settlement Fund

shall be deposited and disbursements from it shall be made.

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 6 of 44 Page |D #:569

30. “Released Claims” means all claims alleged or that could have been
alleged in the operative complaint based on the facts, allegations, and legal theories
raised in the operative complaint including all of the following claims, actions,
demands, causes of action, suits, debts, obligations, damages, rights or liabilities, of
any nature and description whatsoever (whether or not the factual cause of the
alleged underpayment or violation was alleged with particularity in the operative
complaint): (a) failure to pay minimum wages, straight time wages, or overtime
wages; (b) failure to provide proper meal and rest periods, to properly provide
premium pay in lieu thereof, or to properly calculate premium pay in lieu of meal
and rest periods; (c) failure to reimburse or indemnify employees for losses or
expenditures incurred; (d) failure to provide complete and/or accurate wage
statements; (e) failure to timely pay wages due or final wages due; (f) unfair business
practices; (g) civil penalties under the Private Attorneys General Act (“PAGA”); (h)
misclassification of employees as independent contractors; (i) willful
misclassification of employees as independent contractors; (j) any other claims or
penalties under the wage and hour laws pleaded in the Action; (k) any other claims
or penalties under the wage and hour laws pleaded in the Action or that could have
been pleaded in the operative complaint against the Released Parties based on the
facts alleged in the operative complaint pursuant to Labor Code sections 201, 202,
203, 204, 210, 218.5, 218.6, 221, 223, 226, 226.3, 226.7, 226.8, 400-410, 510, 512,
558, 1193.6, 1194, 1194.2, 1197, 1197.1, 1198, 2802, 2699 et seq., Business &
Professions Code section 17200 et seq., Code of Civil Procedure section 1021.5, 29
C.F.R. § 785.22, applicable sections of the California lndustrial Wage Grders, and
applicable sections of the California Code of Regulations, all claimed or unclaimed
compensatory, consequential, incidental, liquidated, punitive and exemplary
damages, penalties, restitution, interest, costs and attorneys’ fees, injunctive or
equitable relief, and any other remedies available at law or equity, and other amounts

recoverable under said causes of action under California and federal law, to the

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 7 of 44 Page |D #:570

extent permissible, including but not limited to the California Labor Code as to the
facts, legal theories, and causes of action alleged in the operative complaint, the
applicable Wage Orders as to the facts, legal theories, and causes of action alleged in
the operative complaint, and the California Unfair Competition Law as to the facts,
legal theories, and causes of action alleged in the operative complaint (collectively,
the “Released Claims”). The res judicata effect of the judgment will be the same as
that of the release obtained by this Agreement and Settlement.

31. “Released Parties” means Defendant Atlas Van Lines, lnc., and its past,
present and/or future, direct and/or indirect, officers, directors, employees, agents,
representatives, attorneys, insurers, partners, investors, shareholders, administrators,
parent companies, subsidiaries, affiliates, divisions, predecessors, successors,
assigns, and joint venturers and any alleged joint employers.

32. “Response Deadline” means the date forty-five (45) days after the
Settlement Administrator mails Notice Packets to Class Members and the last date
on which Class Members may submit a Claim Form, request for exclusion, and/or

objection to the Settlement.

33. “Settlement” means the disposition of the Action pursuant to this
Agreement.
34. “Settlement Administration Costs” means the amount to be paid to the

Settlement Administrator from the Gross Settlement Fund for administration of this

Settlement.
35. “Settlement Administrator” means CPT Group, Inc.
36. “Settlement Class” and “Settlement Class Members” means all Class

Members who do not submit a timely and valid request for exclusion as provided in

this Agreement.
RECITALS
37. Class Certification. The Parties stipulate and agree to the certification
of an opt-out class under Federal Rule of Civil Procedure 23(b)(3) for purposes of

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Case

2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 8 of 44 Page |D #:571

this Settlement only. This Agreement is subject to the approval of the Court
pursuant to Federal Rule of Civil Procedure 23(e) and is made for the sole purpose of
consummating settlement of the Action. Should the Settlement not become final and
effective as herein provided, class certification shall immediately be set aside and the
Settlement Class immediately decertified (subject to further proceedings on motion
of any party to certify or deny certification thereafter). The Parties’ willingness to
stipulate to class certification as part of the Settlement shall have no bearing on, and
shall not be admissible in or considered in connection with, the issue of whether a
class should be certified in a non-settlement context in this Action and shall have no
bearing on, and shall not be admissible or considered in connection with, the issue of
whether a class should be certified in any other lawsuit.

38. Procedural History. On October 25, 2016, Plaintiff filed a putative class
action Complaint alleging that Defendant misclassified Plaintiff as an independent
contractor and asserting claims for Defendant and its alleged joint employers for
alleged violations of the California Labor Code, including misclassification of
employees as independent contractors, willful misclassification of employees as
independent contractors, failure to provide meal and rest periods or proper premium
wages in lieu thereof, failure to pay minimum and overtime wages, failure to pay all
wages upon separation, failure to furnish timely and accurate wage statements,
failure to pay all wages owed every pay period, failure to reimburse business
expenses, along with derivative claims for restitution under California Business &
Professions Code sections 17200, et seq., and claims for interest, attorneys’ fees and
costs. The action was filed in the Los Angeles County Superior Court, and assigned
case number BC638058, and subsequently removed to the United States District
Court for the Central District of California on November 28, 2016, where it was
assigned case number 2:16-cv-08790-GW-E. On March 7, 2017 Plaintiff filed a
First Amended Class Action Complaint. On November 27, 2017 Plaintiff filed the

operative, Second Amended Class Action Complaint, which added causes of action

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 9 of 44 Page |D #:572

for violation of California Labor Code section 226 and for civil penalties pursuant to
PAGA.

39. Mediation. On June 13, 2017, the Parties participated in a private
mediation after exchanging extensive informal mediation data. The mediation ended
with a mediator’s proposal, which the Parties accepted on July 17, 2017. As a result,
the Parties came to agreement on all material terms to resolve this Action in its
entirety.

40. Benefits of Settlement to Settlement Class Members. Plaintiff and
Class Counsel recognize the expense and length of continued proceedings necessary
to litigate their disputes through trial and through any possible appeals. Plaintiff has
also taken into account the uncertainty and risk of the outcome of further litigation,
and the difficulties and delays inherent in such litigation. Plaintiff and Class Counsel
are also aware of the burdens of proof necessary to establish liability for the claims
asserted in the Action, both generally and in response to Defendant’s defenses
thereto, and the difficulties in establishing damages for the Class Members. Based
on the foregoing, Plaintiff and Class Counsel have determined that the set forth in
this Agreement is a fair, adequate and reasonable settlement, and is in the best
interests of the Settlement Class Members.

41. Defendant’s Reasons for Settlement. Defendant has concluded that any
further defense of this litigation would be protracted and expensive for all Parties.
Substantial amounts of Defendant’s time and resources have been and, unless this
Settlement is made, will continue to be devoted to the defense of the claims asserted
by Plaintiff and Class Members. Defendant has also taken into account the risks of
further litigation in reaching its decision to enter into this Settlement. Despite
continuing to contend that it is not liable for any of the claims set forth by Plaintiff,
Defendant has, nonetheless, agreed to settle in the manner and upon the terms set
forth in this Agreement to put to rest the claims as set forth in the Action.

42. Class Members’ Claims. Class Members claim that the Released

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Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 10 of 44 Page |D #:573

1 Claims have merit and give rise to liability on the part of Defendant. This
2 Agreement is a compromise of disputed claims. The monies being paid as part of the
3 settlement are genuinely disputed and the Parties agree that the provisions of Labor
4 Code section 206.5 are not applicable to this Settlement. Nothing contained in this
5 Agreement and no documents referred to herein and no action taken to carry out this
6 Agreement may be construed or used as an admission by or against the Class
7 Members or Class Counsel as to the merits or lack thereof of the claims asserted.

8 43. Defendant’s Defenses. Defendant claims that the Released Claims have
9 no merit and do not give rise to liability. This Agreement is a compromise of
10 disputed claims. The monies being paid as part of the settlement are genuinely
11 disputed and the Parties agree that the provisions of Labor Code section 206.5 are
12 not applicable to this Settlement. Nothing contained in this Agreement and no
13 documents referred to herein and no action taken to carry out this Agreement may be
14 construed or used as an admission by or against Defendant as to the merits or lack
15 thereof of the claims asserted.

16 TERMS OF AGREEMENT

17 44. Limited Release As To All Settlement Class Members. As of the
18 Effective Date, in exchange for the Gross Settlement Fund, Settlement Class
19 Members release the Released Parties from the Released Claims for the Covered
20 Period. With respect to only the Released Claims, the Settlement Class Members
21 stipulate and agree that, upon the Effective Date, the Settlement Class Members shall
22 be deemed to have, and by operation of the final judgment shall have, expressly
23 waived and relinquished, to the fullest extent permitted by law, the provisions, rights
24 and benefits of Section 1542 of the California Civil Code, or any other similar

25 provision under federal or state law, which Section provides:

26
A eneral release does not extend to claims which the
27 cre itor does not know or sus ect to exist in his or her
favor at the time of executing t e release, which if known
23 by him or her must have materially affected his or her

settlement with the debtor.
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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 11 of 44 Page |D #:574

The Settlement Class Members may hereafter discover facts in addition to or
different from those they now know or believe to be true with respect to the subject
matter of the Released Claims, but upon the Effective Date, shall be deemed to have,
and by operation of the final judgment shall have, fully, finally, and forever settled
and released any and all of the Released Claims, whether known or unknown,
suspected or unsuspected, contingent or non-contingent, which now exist, or
heretofore have existed, upon any theory of law or equity now existing or coming into
existence in the future, including, but not limited to, conduct that is negligent,
intentional, with or without malice, or a breach of any duty, law or rule, without
regard to the subsequent discovery or existence of such different or additional facts.
However, to be clear, the scope of the Section 1542 waiver is limited to the Released
Claims only. The parties to this Settlement understand and specifically agree that the
limited Section 1542 waiver described above is a material part of the consideration for
this Settlement, was critical in justifying the agreed upon economic value of this
Settlement, and, without it, Defendant would not have agreed to the consideration
provided for herein. The limited Section 1542 waiver is narrowly drafted and
necessary to ensure that Defendant is obtaining peace of mind regarding the resolution
of claims that were or could have been alleged based on the facts and legal theories
contained in Plaintiff’s operative complaint.

45. General Release As To Plaintiff. For the consideration set forth in this
Agreement, Plaintiff, for himself and his heirs, successors and assigns, does hereby
waive, release, acquit and forever discharge the Released Parties, from any and all
claims, actions, charges, complaints, grievances and causes of action, of whatever
nature, whether known or unknown, which exist or may exist on Plaintiff’s behalf as
of the date of this Agreement, including but not limited to any and all tort claims,
contract claims, wage claims, wrongful termination claims, disability claims, benefit
claims, public policy claims, retaliation claims, statutory claims, personal injury

claims, emotional distress claims, invasion of privacy claims, defamation claims,

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 12 of 44 Page |D #:575

fraud claims, quantum meruit claims, and any and all claims arising under any
federal, state or other governmental statute, law, regulation or ordinance, including,
but not limited to claims for violation of the Fair Labor Standards Act, the California
Labor Code, the Wage Orders of California’s lndustrial Welfare Commission, other
state wage and hour laws, the Americans with Disabilities Act, the Age
Discrimination in Employment Act (ADEA), the Employee Retirement lncome
Security Act, Title Vll of the Civil Rights Act of 1964, the California Fair
Employment and Housing Act, the California Family Rights Act, the Family Medical
Leave Act, California’s Whistleblower Protection Act, California Business &
Professions Code Section 17200 et seq. Plaintiff hereby expressly waives and
relinquishes any and all claims, rights or benefits that he may have under California

Civil Code § 1542, which provides as follows:

A eneral release does not extend to claims which the
ore itor does not know or sus ect to exist in his or her
favor at the time of executing t e release which if known
by him or her must have materially affected his or her
settlement with the debtor.

Plaintiff may hereafter discover claims or facts in addition to, or different from,
those which he now knows or believes to exist, but he expressly agrees to fully,
finally and forever settle and release any and all claims against the Released Parties,
known or unknown, suspected or unsuspected, which exist or may exist on behalf of
or against the other at the time of execution of this Agreement, including, but not
limited to, any and all claims relating to or arising from Plaintiff’ s alleged
employment with Defendant. The Parties further acknowledge, understand and agree
that this representation and commitment is essential to the Agreement and that this
Agreement would not have been entered into were it not for this representation and
commitment., v

46. No Future Oualification or Emplovment As To Plaintiff. Plaintiff

acknowledges that because of circumstances that are unique to Plaintiff, including

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 13 of 44 Page |D #:576

but not limited to irreconcilable differences with the Released Parties, the Released
Parties have no obligation, contractual or otherwise, to qualify, hire, or employ
Plaintiff in the future. Further, Plaintiff agrees not to seek qualification or
employment with the Released Parties in the future. In the event that Plaintiff
breaches his contractual obligations not to re-apply for qualification or employment
with the Released Parties under this section, the Released Parties may deny
Plaintiff’s application or terminate his qualification and/or employment and Plaintiff
agrees that his breach of his contractual obligations is good and sufficient cause for
such denial or termination and that such denial or termination is not retaliatory but
rather is a matter of contract.

47. ADEA Waiver As to Plaintiffr Without limiting the scope of this
Agreement, Plaintiff agrees that this Agreement constitutes a knowing and voluntary
waiver of any and all rights or claims that exist or that Plaintiff may claim to have
under the Age Discrimination in Employment Act (“ADEA”), as amended by the
Older Workers’ Benefit Protection Act of 1990 (29 U.S.C. §§ 621, et seq.). Plaintiff
acknowledges all of the following:

a. The consideration provided pursuant to this Agreement is in addition to

any consideration that he would otherwise be entitled to receive;

b. If Plaintiff elects not to waive his rights or claims under the ADEA, he
will not be entitled to the Class Representative Service Award as part of
the consideration for the Class Representative Service Award is
Plaintiff’ s general release of all claims against the Released Paities.

c. Plaintiff has been and is advised in writing to consult with an attorney
prior to signing this Agreement;

d. Plaintiff has been provided a full and ample opportunity to study this
Agreement, including a period of at least twenty one (21) calendar days
within which to consider it;

e. To the extent that Plaintiff takes less than twenty one (21) calendar days

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 14 of 44 Page |D #:577

to consider this Agreement prior to signing it, Plaintiff acknowledges
that he had sufficient time to consider this Agreement with legal counsel
and that he expressly, voluntarily and knowingly waives any additional
time§

Plaintiff agrees that any changes made to the Agreement during the
twenty one (21) day period (whether material or immaterial) do not
restart the running of the twenty one (21) day period; and

Plaintiff is aware of his right to revoke this waiver of claims under the
ADEA any time within the seven (7) calendar-day period following the
date Plaintiff signs the Agreement and that the waiver of claims under
the ADEA shall not become effective or enforceable until the seven (7)
calendar-day revocation period expires. Notwithstanding PlaintifPs
right to revoke the waiver of claims under the ADEA, the remainder of
the terms of this Agreement shall become effective and enforceable as
of the date that the Parties sign this Agreement.

To be effective, timely notice of revocation of the waiver of ADEA
claims must be made in writing and delivered to Defendants through its
counsel, Evan R. Moses, Esq., at Ogletree, Deakins, Nash, Smoak &
Stewart, P.C., 400 South Hope Street, Suite 1200, Los Angeles,
California 90017, no later than the seventh (7th) day after Plaintiff
executes this Agreement. Plaintiff agrees to keep written
documentation proving that Plaintiff revoked this Agreement as
provided in this section, either by keeping the documents attesting to the
delivery of the revocation, or verification that the fax was, in fact,

received.

Tax Liability. The Parties and their counsel make no representations as

to the tax treatment or legal effect of the payments called for by this Agreement, and

Participating Class Members are not relying on any statement or representation by

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Case

2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 15 of 44 Page |D #:578

the Parties or their counsel in this regard. Participating Class Members understand
and agree that they will be responsible for the payment of any employee taxes,
penalties, or other obligations relating to or arising out of the payments described
herein and will hold the Parties and their counsel free and harmless from and against
any claims, liabilities, costs and expenses, including attorney’s fees, resulting in any
way from personal tax treatment of the payments made pursuant to this Agreement,
including the treatment of such payments as not subject to withholding or deduction
for payroll and employment taxes.

49. Circular 230 Disclaimer. Each Party to this Agreement (for purposes of
this section, the “acknowledging Party” and each Paity to this Agreement other than
the acknowledging party, an “other Party”) acknowledges and agrees that: (1) no
provision of this Agreement, and no written communication or disclosure between or
among the Parties or their attorneys and other advisers, is or was intended to be, nor
shall any such communication or disclosure constitute or be construed or be relied
upon as, tax advice within the meaning of United States Treasury Department
circular 230 (31 CFR part 10, as amended); (2) the acknowledging Party (a) has
relied exclusively upon his, her or its own, independent legal and tax counsel for
advice (including tax advice) in connection with this Agreement, (b) has not entered
into this Agreement based upon the recommendation of any other Party or any
attorney or advisor to any other Party, and (c) is not entitled to rely upon any
communication or disclosure by any attorney or adviser to any other Party to avoid
any tax penalty that may be imposed on the acknowledging Party; and (3) no
attorney or adviser to any other Party has imposed any limitation that protects the
confidentiality of any such attorney’s or adviser’s tax strategies (regardless of
whether such limitation is legally binding) upon disclosure by the acknowledging
party of the tax treatment or tax structure of any transaction, including any
transaction contemplated by this Agreement.

50. CAFA Notice. Within ten (10) days of receiving notice of filing of a

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 16 of 44 Page |D #:579

Motion for Preliminary Approval of this Agreement, Defendant shall serve the
CAFA Notice of this Agreement on the appropriate federal and state officials, as
required by 28 U.S.C. § 1715(b).

51. Settlement Administration The Settlement Administrator shall be CPT
Group, lnc.

a. Class Information. No more than fourteen (14) calendar days after the
Preliminary Approval Date, Defendant shall provide the Settlement Administrator
with the Class lnformation for purposes of mailing Notice Packets to Class
Members.

b. Notice Bv First Class U.S. Mail. Upon receipt of the Class Information,
the Settlement Administrator will perform a Search based on the National Change of
Address Database to update and correct any known or identifiable address changes
No more than fourteen (14) calendar days after receiving the Class Information from
Defendant as provided herein, the Settlement Administrator shall mail copies of the
Notice Packet to all Class Members via regular First Class U.S. Mail to the addresses
provided by Defendant. The Settlement Administrator shall exercise its best
judgment to determine the current mailing address for each Class Member. The
address identified by the Settlement Administrator as the current mailing address
shall be presumed to be the best mailing address for each Class Member.

c. Undeliverable Notices. Any Notice Packets returned to the Settlement
Administrator as non-delivered on or before the Response Deadline shall be re-
mailed to the forwarding address affixed thereto. If no forwarding address is
provided, the Settlement Administrator shall promptly attempt to determine a correct
address by use of skip-tracing, or other search using the name, address and/or Social ‘
Security number of the Class Member involved, and shall then perform a re-mailing,
if another mailing address is identified by the Settlement Administrator. Class
Members who received a re-mailed Notice Packet shall have their Response

Deadline extended fifteen (15) days from the original Response Deadline.

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 17 of 44 Page |D #:580

d. Notice Packets. The Notice Packets, substantially in the forms attached
as Exhibits 1 and 2, shall list the qualification dates during the Covered Period and
estimated lndividual Settlement Payment for each respective Class Member. The
Notice Packets shall include the Claim Form and instructions for submitting a
written request for exclusion from the Settlement or objecting to the Settlement.

e. Claim Form Procedures. To receive individual Settlement Payments,
Class Members shall be required to submit a timely Claim Form by the Response
Deadline. However, Plaintiff is not required to submit a Claim Form to receive his
Individual Settlement Payment. All Claim Forms must: (1) be signed by the Class
Member; (2) contain the name, address, telephone number, and the last four digits of
the Social Security number of the Class Member; (3) be returned by mail or fax to
the Claims Administrator at the specified address or fax number; and (4)v be
postmarked or faxed on or before the Response Deadline. The date of the postmark
on the return mailing envelope or fax shall be the exclusive means to determine
whether a Claim Form has been timely submitted

f. Exclusions. The Notice Packet shall state that Class Members who wish
to exclude themselves from the Settlement must submit a written request for
exclusion by the Response Deadline. The written request for exclusion must: (1)
explicitly and unambiguously state “l wish to exclude myself from the settlement
reached in the matter of Leitzl)ach v. Atlas Van Lines, Inc., Case No. Case No. 2:16-
cv-08790-GW-E. 1 understand that by excluding myself, l will not receive any
money from the settlement reached in this matter”; (2) contain the name, address,
telephone number and the last four digits of the Social Security number of the person
requesting exclusion; (3) be signed by the Class Member; and (4) be postmarked or
fax stamped by the Response Deadline and returned to the Settlement Administrator
at the specified address or fax telephone number. The request for exclusion will not
be valid if it is not timely submitted, if it is not signed by the Class Member, or if it

does not contain the name, address, and last four digits of the Social Security number

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 18 of 44 Page |D #:581

of the Class Member. The date of the postmark on the return mailing envelope or
fax stamp on the request for exclusion shall be the exclusive means used to
determine whether the request for exclusion was timely submitted Any Class
Member who requests to be excluded from the Settlement Class will not be entitled
to any recovery under the Settlement and will not be bound by _the terms of the
Settlement or have any right to object, appeal or comment thereon. Class Members
who fail to submit a valid and timely written request for exclusion on or before the
Response Deadline shall be bound by all terms of the Settlement and any final
judgment entered in this Action if they Settlement is approved by the Court. No more
than twenty-five (25) calendar days after the Response Deadline, the Settlement
Administrator shall provide counsel for Defendant with a final list of Class Members
Who have timely submitted written requests for exclusion, and counsel for Plaintiff
with a final list of identifying numbers (but not names) of Class Members who have
timely submitted written requests for exclusion. At no time shall any of the Parties
or their counsel seek to solicit or otherwise encourage Class Members to submit
requests for exclusion from the Settlement.

g. Defective Submissions. If a Class Member’s Claim Form or request for
exclusion is defective as to the requirements listed herein, that Class Member shall
be given an opportunity to cure the defect(s). The Claims Administrator shall mail
the Class Member a cure letter within three (3) business days of receiving the
defective submission to advise the Class Member that his or her submission is
defective and that the defect must be cured to render the Claim Form or request for
exclusion valid. The Class Member shall have until the later of (i) Response
Deadline, or (ii) fifteen (15) calendar days from the date of the cure letter, whichever
date is later, to postmark or fax a revised Claim Form or request for exclusion. 'If a
Class Member responds to a cure letter by submitting a defective claim form or
request for exclusion, then the Claims Administrator shall have no further obligation

to give notice of a need to cure. lf the revised Claim Form or request for exclusion is

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Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 19 of 44 Page |D #:582

1 not postmarked or received by fax within that period, it shall be deemed untimely. If
2 a Class Member submits both a Claim Form and a request for exclusion, the Claim
3 Form will be considered the controlling document.

4 h. Ob]'ections. The Notice Packet shall state that Settlement Class
5 Members who wish to object to the Settlement must file with the Court and serve on
6 all Parties a written statement of objection (“Notice of Objection”) by the Response
7 Deadline. The date of filing and the date on the proof of service shall be deemed the
8 exclusive means for determining that a Notice of Objection was filed and served
9 timely. The Notice of Objection must be signed by the Settlement Class Member
10 and state: (1) the full name of the Settlement Class Member; (2) the dates of
11 qualification of the Settlement Class Member; (3) the last four digits of the
12 Settlement Class Member’s Social Security number; (4) the basis for the objection;
13 and (5) whether the Settlement Class Member intends to appear at the Final
14 Approval/Settlement Fairness Hearing. Settlement Class Members who fail to make
15 objections in the manner specified above shall be deemed to have waived any
16 objections and shall be foreclosed from making any objections (whether by appeal or
17 otherwise) to the Settlement. Settlement Class Members who submit a timely Notice
18 of Objection will have a right to appear at the Final Approval/Settlement Fairness
19 Hearing in order to have their objections heard by the Court. At no time shall any of
20 the Parties or their counsel seek to solicit or otherwise encourage Settlement Class
21 Members to file or serve written objections to the Settlement or appeal from the
22 Order and Final Judgment. Class Counsel shall not represent any Settlement Class
23 Members with respect to any such objections.

24 i. Disputes Regarding Individual Settlement Payments. The Notice
25 Packet shall instruct Class Members how, in the event they disagree with
26 Defendant’s records regarding the dates of qualification stated on their Notice
27 Packet, they may provide documentation and/or an explanation to the Settlement

28 Administrator to show contrary qualification dates. If there is a dispute, the

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Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 20 of 44 Page |D #:583

1 Settlement Administrator will consult with the Parties to determine whether an
2 adjustment is warranted. The Settlement Administrator shall determine the
3 eligibility for, and the amounts of, any lndividual Settlement Payments under the
4 terms of this Agreement. The Settlement Administrator’s determination of the
5 eligibility for and amount of any Individual Settlement Payment shall be binding
6 upon the Class Member and the Parties.

7 j. Disputes Regarding Administration of Settlement. Any disputes not
8 resolved by the Settlement Administrator concerning the administration of the
9 Settlement will be resolved by the Court under the laws of the State of Califomia.
10 Prior to any such involvement of the Court, counsel for the Parties will confer in
11 good faith to resolve the disputes without the necessity of involving the Court.

12 52. Funding and Allocation of Gross Settlement Fund. This is a non-
13 reversionary settlement in which Defendant is required to pay the entirety of the
14 Gross Settlement Fund, which includes lndividual Settlement Payments, the Class
15 Representative Service Award, the Class Counsel Award, PAGA Payment, required
16 employee-side and employer-side withholdings from lndividual Settlement
17 Payments, and the Settlement Administration Costs, as specified in this Agreement.
18 No amount of the Gross Settlement Fund will revert to Defendant. No more than
19 fourteen (14) calendar days after the Effective Date, Defendant Shall provide the
20 Gross Settlement Fund to the Settlement Administrator to fund the Settlement, as set
21 forth in this Agreement.

22 a. Individual Settlement Payments. Individual Settlement Payments will
23 be paid from the Net Settlement Amount and shall be paid pursuant to the settlement
24 formula set forth herein. Individual Settlement Payments shall be mailed by regular
25 First Class U.S. Mail to Participating Class Members’ last known mailing address no
26 more than fourteen (14) calendar days after Defendant provides funds to the
27 Settlement Administrator for disbursement under this Agreement. lndividual

28 Settlement Payments will be allocated as follows: thirty-three percent (33%) as

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Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 21 of 44 Page |D #:584

wages; thirty-four percent (34%) as reimbursement for business expenses; and thirty-
three percent (33%) as penalties and interest. Any checks issued to Paiticipating
Class Members shall remain valid and negotiable for one hundred and eighty (180)
days from the date of their issuance. After that time, all funds represented by
uncashed checks shall be tendered to the Department of lndustrial Relations Unpaid
Wages Fund, so that all Participating Class Members will have an opportunity to
claim their payments from the Department of lndustrial Relations after the expiration
of the settlement checks.

b. Calculation of Individual Settlement Payments. The Settlement
Administrator will calculate the total Compensable Workweeks for all Participating
Class Members. The respective Compensable Workweeks for each Participating
Class Member will be divided by the total Compensable Workweeks for all
Participating Class Members, resulting in the Payment Ratio for each Participating
Class Member. Each Participating Class Member’s Payment Ratio will then be
multiplied by the Net Settlement Amount to calculate each Participating Class
Member’s estimated Individual Settlement Payments. Each Individual Settlement
Payment will be reduced by any legally mandated employee and employer tax
withholdings (e.g., employee payroll taxes, FICA, FUTA, etc.) for each Participating
Class Member. Participating Class Members are not eligible to receive any
compensation other than lndividual Settlement Payments from this Settlement.

c. Class Representative Service Award. Defendant agrees not to oppose or
object to any application or motion by Plaintiff for a Class Representative Service
Award of up to $15,000.00 in exchange for the Released Claims and a General
Release and for his time and effort in bringing and prosecuting this matter. The
Class Representative Service Award shall be paid to Plaintiff from the Gross
Settlement Fund no later than fourteen (14) calendar days after Defendant provides
funds to the Settlement Administrator for disbursement under this Agreement. Any

portion of the requested Class Representative Service Award that is not awarded to

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Case

2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 22 of 44 Page |D #:585

the Class Representative shall be part of the Net Settlement Amount and shall be
distributed to Participating Class Members as provided in this Agreement. The
Settlement Administrator shall issue an IRS Form 1099 ~ 1\/HSC to Plaintiff for his
Class Representative Service Award. Plaintiff shall be solely and legally responsible
to pay any and all applicable taxes on his Class Representative Service Award and
shall hold harmless Defendant from any claim or liability for taxes, penalties, or
interest arising as a result of the Class Representative Service Award. The Class
Representative Service Award shall be in addition to the Plaintiff`s respective
Individual Settlement Payment. In the event that the Court reduces or does not
approve the requested Class Representative Service Award, Plaintiff shall not have
the right to revoke the Settlement, and it will remain binding.

d. Class Counsel Award. Defendant agrees not to oppose or object to any
application or motion by Class Counsel for attorneys’ fees not to exceed thirty
percent (30%) of the Gross Settlement _Fund ($444,000.00 out of $1,480,000.00),
plus costs and expenses supported by declaration not to exceed Ten Thousand
Dollars ($10,000.00), from the Gross Settlement Fund. Any portion of the requested
Class Counsel Award that is not awarded to Class Counsel shall be part of the Net
Settlement Amount and shall be distributed to Participating Class Members as
provided in this Agreement. The Class Counsel Award shall be paid to Class
Counsel from the Gross Settlement Fund no later than fourteen (14) calendar days
after Defendant provides funds to the Settlement Administrator for disbursement
under this Agreement. Class Counsel shall be solely and legally responsible to pay
all applicable taxes on the payment made pursuant to this paragraph. The Settlement
Administrator shall issue an IRS Form 1099 _ 1\/HSC to Class Counsel for the
payments made pursuant to this paragraph In the event that the Court reduces or
does not approve the requested Class Counsel Award, Plaintiff and Class Counsel
shall not have the right to revoke the Settlement, or to appeal such order, and the

Settlement will remain binding.

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 23 of 44 Page |D #:586

e. PAGA Payment. Twenty-five Thousand Dollars ($25,000) shall be
allocated from the Gross Settlement Fund for payment under the Private Attorneys
General Act of 2004. Seventy-five percent (75%), or $18,750, will be paid to the
California Labor and Workforce Development Agency, no later than fourteen (14)
calendar days after Defendant provides funds to the Settlement Administrator for
disbursement under this Agreement. Twenty-five (25%), or $6,250, will be part of
the Net Settlement Amount and distributed to Participating Class Members as
described in this Agreement. Class Counsel will take all action required by
California Labor Code section 2699(1).

f. Settlement Administration Costs. The Settlement Administrator shall
be paid for the costs of administration of the Settlement from the Gross Settlement
Fund. The estimate of such costs of administration for the disbursement of the Gross
Settlement Fund is $11,000.00. No fewer than twenty (20) days prior to the Final
Approval Hearing, the Settlement Administrator shall provide the Parties with a
statement detailing the costs of administration of this Settlement. The Settlement
Administrator shall be paid the Settlement Administration Costs no later than
fourteen (14) calendar days after Defendant provide funds to the Settlement
Administrator for disbursement under this Agreement. The Settlement
Administrator, on Defendant’s behalf, shall have the authority and obligation to set
up a Qualified Settlement Fund to make payments, credits and disbursements,
including payments and credits in the manner set forth herein, to Participating Class
Members calculated in accordance with the methodology set out in this Agreement
and orders of the Court.

g. The Parties agree to cooperate in the Settlement administration process
and to make all reasonable efforts to control and minimize the cost and expenses
incurred in administration of the Settlement. The Parties each represent they do not
have any financial interest in the Settlement Administrator or otherwise have a

relationship with the Settlement Administrator that could create a conflict of interest.

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Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 24 of 44 Page |D #:587

1 h. The Settlement Administrator shall be responsible for: processing and
2 mailing payments to the Plaintiff, Class Counsel, and Participating Class Members;
3 printing and mailing the Notice Packets to the Class Members as directed by the
4 Court; receiving and reporting the requests for exclusion submitted by Class
5 Members; deducting taxes from lndividual Settlement Payments and distributing tax
forms; processing and mailing tax payments to the appropriate state and federal
taxing authorities; providing declaration(s) as necessary in support of preliminary
8 and/or final approval of this Settlement; and other tasks as the Parties mutually agree
9 or the Court orders the Settlement Administrator to perform. The Settlement
10 Administrator shall keep the Parties timely apprised of the performance of all
11 Settlement Administrator responsibilities No later than twenty-five (25) calendar
12 days after the Response Deadline, the Settlement Administrator shall provide counsel
13 for the Parties, without disclosing the information to Plaintiff or Defendant, with a
14 final accounting of the Gross Settlement Fund and report the amount of all payments
15 to be made to each Settlement Class Member.

16 i. No person shall have any claim against Defendant, Plaintiff, Settlement
17 Class Members, Class Counsel or the Settlement Administrator based on
18 distributions and payments made in accordance with this Agreement.

19 53. Preliminary Approval Hearing. Plaintiff shall obtain a hearing before
20 the Court to request the preliminary approval of the Settlement, and the entry of a
21 Preliminary Approval Order for: (i) conditional certification of the Class under
22 Federal Rule of Civil Procedure 23(b)(3) for settlement purposes only, (ii)
23 preliminary approval of the proposed Agreement, and (iii) setting a date for a Final
24 Approval/Settlement Fairness Hearing. The Preliminary Approval Order shall
25 provide for the Notice Packet to be sent to all Class Members as specified herein. ln
26 conjunction with the Preliminary Approval Hearing, Plaintiff shall submit this
27 Agreement, which sets forth the terms of this settlement, and will include the

28 proposed Notice Packet, which shall include the proposed Notice of Class Action

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Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 25 of 44 Page |D #:588

1 Settlement and the proposed ClaimForm, attached, respectively

2 54. Gption to Terminate Settlement. If, after the Response Deadline and
3 before the Final Approval/Settlement Fairness Hearing, the number of Class
4 Members who submitted timely and valid written requests for exclusion from the
5 Settlement is at least three percent (3%) of all Class Members, Defendant shall have,
6 in its sole discretion, the option to terminate this Settlement. If Defendant exercises
7 its option to terminate this Settlement, Defendant shall provide written notice to
8 Class Counsel no more than seven (7) calendar days after the Response Deadline and
9 the Parties shall proceed in all respects as if this Agreement had not been executed.

10 55. Final Settlement Approval Hearing and Entrv of Final Judgment. Upon
11 expiration of the Response Deadline, with the Court’s permission, a Final
12 Approval/Settlement Fairness Hearing shall be conducted to determine final approval
13 of the Settlement along with the amount properly payable for (i) the Class Counsel
14 Award, (ii) the Class Representative Service Award, (iii) lndividual Settlement
15 Payments, (iv) the PAGA Payment, and (v) the Settlement Administration Costs.
16 After entering the Final Approval Order, the Court shall retain jurisdiction over the
17 Parties to enforce the terms of the judgment

18 56. Review of Motions for Preliminary and Final Approval. Class Counsel
19 will provide an opportunity for Counsel for Defendant to review the Motions for
20 Preliminary and Final Approval at least ten (10) days before filing them with the
21 Court. The Parties and their counsel will cooperate with each other and use their
22 best efforts to effect the Court’s approval of the Motions for Preliminary and Final
23 Approval.

24 57. Nullification of Settlement Agreement. In the event: (i) the Court does
25 not grant preliminary approval; (ii) the Court does not grant final approval; (iii) the
26 Court does not enter a final judgment as provided herein; or (iv) the Settlement'does
27 not become final for any other reason, this Agreement shall be null and void and any

28 order or judgment entered by the Court in furtherance of this Settlement shall be

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2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 26 of 44 Page |D #:589

treated as void from the beginning. In such a case, the Parties and any funds to be
awarded under this Settlement shall be returned to their respective statuses as of the
date and time immediately prior to the execution of this Agreement, and the Parties
shall proceed in all respects as if this Agreement had not been executed, except that
any costs already incurred by the Settlement Administrator shall be paid by equal
apportionment among the Parties. ln the event an appeal is filed from the Couit’s
final judgment, or any other appellate review is sought, administration of the
Settlement shall be stayed pending final resolution of the appeal or other appellate
review, but any fees incurred by the Settlement Administrator prior to it being
notified of the filing of an appeal from the Court’s Final Judgment, or any other
appellate review, shall be paid to the Settlement Administrator within thirty (30)
days of said notification

58. No Effect on Emplovee Benefits. Amounts paid to Plaintiff or other
Participating Class Members pursuant to this Agreement shall be deemed not to be
pensionable earnings and shall not have any effect on the eligibility for, or
calculation of, any of the employee benefits (e.g., vacations, holiday pay, retirement
plans, etc.) of the Plaintiff or Participating Class Members.

59. Exhibits and Headings. The terms of this Agreement include the terms
set forth in the attached Exhibits 1 and 2, which are incorporated by this reference as
though fully set forth herein. The exhibits to this Agreement are an integral part of
the Settlement. The descriptive headings of any paragraphs or sections of this
Agreement are inserted for convenience of reference only and do not constitute a part
of this Agreement.

60. Interim Stay of Proceedings. The Parties agree to stay all proceedings
in the Action, except such proceedings necessary to implement and complete the
Settlement, in abeyance pending the Final Approval/Settlement Fairness Hearing to
be conducted by the Court.

61. Amendment or Modification. This Agreement may be amended or

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Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 27 of 44 Page |D #:590

1 modified only by a written instrument signed by counsel for all Parties or their
2 successors-in-interest.

3 62. Entire Agreement. This Agreement and the attached exhibits constitute
4 the entire Agreement among these Parties, and no oral or written representations
5 warranties or inducements have been made to any Party concerning this Agreement
6 or its exhibits other than the representations warranties and covenants contained and
7 memorialized in the Agreement and its exhibits

8 63. Authorization to Enter lnto Settlement Agreement. Counsel for all
9 Parties warrant and represent they are expressly authorized by the Parties whom they
10 represent to negotiate this Agreement and to take all appropriate actions required or
11 permitted to be taken by such Parties pursuant to this Agreement to effectuate its
12 terms, and to execute any other documents required to effectuate the terms of this
13 Agreement. The Parties and their counsel will cooperate with each other and use
14 their best efforts to effect the implementation of the Settlement. The person signing
15 this Agreement on behalf of Defendant represents and warrants that he is authorized
16 to sign this Agreement on behalf of Defendant. Plaintiff represents and warrants that
17 he is authorized to sign this Agreement and that he has not assigned any claim, or
18 part of a claim, covered by this Settlement to a third-party.

19 64. Binding on Successors and Assigns. This Agreement shall be binding
20 upon, and inure to the benefit of, the successors or assigns of the Parties hereto, as
21 previously defined.

22 65. California Law Governs. All terms of this Agreement and the exhibits
23 hereto and any disputes arising hereunder shall be governed by and interpreted
24 according to the laws of the State of California.

25 66. Counterparts. This Agreement may be executed in one or more
26 counterparts All executed counterparts and each of them shall be deemed to be one
27 and the same instrument provided that counsel for the Parties to this Agreement shall

28 exchange among themselves copies or originals of the signed counterparts

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2:16-cv-O8790-GW-E Document 44 Filed 11/27/17 Page 28 of 44 Page |D #:591

67. This Settlement ls Fair, Adequate and Reasonable. The Parties believe
this Settlement is a fair, adequate and reasonable settlement _of this Action and have
arrived at this Settlement after extensive arms-length negotiations, taking into
account all relevant factors, present and potential.

68. Jurisdiction of the Court. The Parties agree that the Court shall retain
jurisdiction with respect to the interpretation, implementation and enforcement of the
terms of this Agreement and all orders and judgments entered in connection
therewith, and the Parties and their counsel hereto submit to the jurisdiction of the
Court for purposes of interpreting, implementing and enforcing the settlement
embodied in this Agreement and all orders and judgments entered in connection
therewith.

69. Invaliditv of Any Provision. Before declaring any provision of this
Agreement invalid, the Court shall first attempt to construe the provisions valid to
the fullest extent possible consistent with applicable precedents so as to define all
provisions of this Agreement valid and enforceable.

70. Publici‘_ty. Plaintiff and Class Counsel agree not to disclose or publicize
the Settlement, including the fact of the Settlement, its terms or contents, and the
negotiations underlying the Settlement, in any manner or form, directly or indirectly,
to any person or entity, except Class Members and as shall be contractually required
to effectuate the terms of the Settlement as set forth herein. For the avoidance of
doubt, this section means Plaintiff and Class Counsel agree not to issue press
releases, communicate with, or respond to any media or publication entities, publish
information in manner or form, whether printed or electronic, on any medium or
otherwise communicate, whether by print, video, recording or any other medium,
with any person or entity concerning the Settlement, including the fact of the
Settlement, its terms or contents and the negotiations underlying the Settlement,
except as shall be contractually required to effectuate the terms of the Settlement as

set forth herein. ln response to inquiries from third parties, Plaintiff and Class

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Case 2:16-cv-O8790-GW-E Document 44 Filed 11/27/17 Page 29 of 44 Page |D #:592

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12 Action. The Parties filttliet ..a:r:knt)aidedged understand and agree that this
i_3; iepicscntation is essential to the Agreement and that this Agreement would hat have §§
14 been entered into were it not for this representh
151 72. Waiver ofCerta‘in Aggcals. The Parties agree to waive appeals and to
16 stipulate to class certification for purposes ofthis settlement cniy. §
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Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 30 of 44 Page |D #:593

 

 

 

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Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 31 of 44 Page |D #:594

EXH|BIT' 1

 

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 32 of 44 Page |D #:595

United States District Court for the Central District of California
Frank Leitzbach v. Atlas Varz Lines, Inc.
Case No. 2:l6-cv-08790-GW-E

NOTICE OF CLASS ACTI()N SETTLEMENT

To: All California residents who qualified to drive under Atlas Van Lines, Inc.’s
(“Atlas”) United States Department of Transportation Authority at any time
from October 25, 2012 through [date] and who actually contracted and drove
for Atlas or one of its Agents during that period (the “Class Members”).

A court authorized this notice This is not a solicitation
This is noia lawsuit against you and you are riot being sued.
However, your legal rights are affected whether you act or don ’t act.

Your rights and each option - and the deadlines to exercise each of them ~are explained in this Notice.

 

The estimated amount of your Individual Settlement Payment is shown on
the Claim Form enclosed with this Notice. To receive your payment, you
TO RECEIVE A must submit the Claim Form to the_Settlement Administrator by idate] and
SETTLEMENT PAYMENT keep the Settlement Administrator informed of your current mailing
address. Once the Court grants final approval of the Settlement, the
Administrator will mail your check to the address on file for you if you
timely submitted a Claim Form.

 

 

Update your personal information with the Settlement Administrator to
§§i:)l`ll€\/]EA(,:I`?§§ACT ensure your lndividual Settlement Payment check is sent to the correct

address.

You can exclude yourself from the Settlement if you do not wish to
EXCLUDE YOURSELF participate in the Settlement. lf you exclude yourself, you will not receive

an lndividual Settlement Payment. This is the only option that allows you
to pursue your own lawsuit against Atlas about the legal claims in this case.

 

 

 

OBJECT Write to the Court if you think the Settlement is not fair.

GO TO A HEARING task to speak in Court about why you think the Settlement is not fair at the
time of the final approval hearing

DO NOTHING lf you do nothing, that is, do not return a timely request to be excluded, you

will not receive an lndividual Settlement Payment, and will be bound by
the terms of the Settlement and releases described in this Notice.

 

 

 

 

Page l of 10

QUESTIONS? CALL TOLL FREE 1-800~

 

 

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 33 of 44 Page |D #:596

 

 

BASIC INFORMATION
l. Why did l- get this notice packet? ................................................................... Page 3
2. What is this lawsuit about? ............................................................................. Page 3
3. Why is this a class action? .............................................................................. Page 3
4. Why is there a settlement‘? .............................................................................. Page 3
5. Who are the Parties in this lawsuit .................................................................. Page 4
6. Who are the Attorneys for the Parties ............................................................. Page 4

THE TERMS OF THE SETTLEMENT
7. What is the settlement amount, and How Will the lndividual Settlement
Payments Be Calculated? ................................................................................ Page 4
8. How much will my lndividual Settlement Payment be? ................................. Page 5

HOW TO GET A PAYMENT

 

9. How can l get my Individual Settlement Payment‘? ........................................ Page 5

lO. What am l giving up to get an lndividual Settlement Payment? ..................... Page 5
EXCLUDING YOURSELF FROM THE SETTLEMENT

ll.How do l get out of the settlement‘? ................................................................. Page 6

12. lf l don’t exclude myself, can I sue Atlas for the same thing later? ................ Page 6

13. If l exclude myself, can l get money from this settlement? ............................ Page 6

OBJECTING TO THE SETTLEMENT
l4. How do l tell the Court thatl don’t like the settlement? ................................. Page 7
15. What’s the difference between objecting and excluding myself`? ................... Page 7

THE COURT’S FINAL APPROVAL HEARING
l6. When and where will the Court decide whether to approve the settlement? .. Page 7

 

 

l7. Do l have to come to the hearing‘? ................................................................... Page 8
18. l\/[ay l appear and speak at the hearing? .......................................................... Page 8
GETTING MORE INFORMATION
l9. Who canl contact if l have questions about the settlement? .......................... Page 8
ADDITIONAL IMPORTANT INFORMATIGN ....................................................... Page 8
Page 2 of 10

QUESTIONS? CALL TOLL FREE 1-800-

 

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 34 of 44 Page |D #:597

 

1. Why did I get this notice packet?

You received this notice because the records of Atlas Van Lines, lnc. (“Atlas”) indicate you were a
California resident who was qualified to drive under Atlas Van Lines, lnc.’s (“Atlas”) United States
Department of Transportation Authority at any time from October 25, 2012 through [date], and

actually contracted and drove for Atlas or one of its Agents during that period (“Class Member(s)”).

The purpose of this notice is to explain the lawsuit, the settlement, your legal rights, what benefits are
available, who is eligible for them, and how to get them.

The Court in charge of the case is the United States District Court for the Central District of
California. The case is known as Frarik Leitzbach v. Atlas Van Lines, lnc., Case No. 2:16-cv-08790-
GW-E (“Action” or “Lawsuit”).

2. What is this Lawsuit about?

The Lawsuit, originally filed on October 25, 2016, and subsequently amended on March 7, 2017 and
[date], 2017, claimed that Atlas misclassified the Class Members as independent contractors, and as a
result, failed to provide meal and rest periods or proper premiums Wages in lieu thereof, failed to pay
minimum wages, failed to pay all wages upon separation, failed to furnish timely and accurate wage
statements, failed to pay all wages owed every pay period, and failed to reimburse business expenses,
and by doing so, engaged in unfair competition The Lawsuit also made a claim for civil penalties
pursuant to the Private Attorneys General Act of 2004 (“PAGA”).

Atlas denies the allegations in the Lawsuit and contends that the Class Members are not its employees,
and as a result, it has complied at all times with the California Labor Code. The settlement is not an
admission of any wrongdoing by Atlas or an indication that any law was violated

3. Whv is this a class action?

ln a class action, one or more people called Class Representatives (in this case Mr. Leitzbach) sue on
behalf of themselves and other people who have similar claims. The group of people with similar
claims is called a “Class.” Each person covered by the class definition is a “Class Member.” One

Court resolves the issues for all Class Members, except for those who request to be excluded from the
Class.

4. Why is there a Settlement?

The Court did not decide in favor of Plaintiff Frank Leitzbach or Defendant Atlas. There was no trial.
lnstead, both sides agreed to a no-fault settlement of the Lawsuit (“Settlernen ”). That way, they avoid
the cost of a trial and the people affected can get compensation from the Settlement. Mr. Leitzbach,

who was appointed the Class Representative, and his attorneys think the Settlement is best for all
Class Members.

Page 3 of10

QUESTIONS? CALL TOLL FREE 1-800-

 

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 35 of 44 Page |D #:598

5. Who are the Parties in this Lawsuit?

Frank Leitzbach, the Plaintiff in this Lawsuit, was qualified to drive under Atlas’ United States
Department of Transportation Authority from 2012 to 2015.

Atlas Van Lines, lnc. is the Defendant in this Lawsuit.

 

6. Who are the Attornevs for the Parties?
Counsel for Plaintiff and the Class Counsel for Defendant
Joshua H. Haffner Evan R. Moses
Graham G. Lambert Robert R. Roginson
Haffner Law PC Christopher J. Archibald
445 South Figueroa St., Suite 2325 Ogletree, Deakins, Nash, Smoak
Los Angeles, CA 90071 & Stewart, P.C.

400 South Hope Street, Suite 1200
Los Angeles, CA 90071

If you have questions regarding this Settlement, you should contact Attorneys for Plaintiff or the
Settlement Administrator.

 

7. What is the Settlement amount and how Will the Individual Settlement Payment be
calculated?

The proposed Settlement provides for a cash payment of $1,480,000 to fully and finally resolve all
claims in the Lawsuit (referred to as the “Gross Settlement Fund”). The Gross Settlement Fund
includes the Individual Settlement Payments, Class Counsel Award, Class Representative Service
Award, PAGA Payment, required withholdings from Individual Settlement Payments, employer tax
contributions, and Settlement Administration Costs. Class Counsel will apply to the Court for
attorneys’ fees of $444,000, litigation costs of up to $ , a Class Representative Service
Award of $15,000 to Mr. Leitzbach for his work and efforts in prosecuting this case, for undertaking
the risks of payment of costs (in the event the outcome of this Lawsuit was not favorable) and a
general release of all claims, payment of $18,750 to the California Labor & Workforce Development
Agency as its 75% share of the $25,000 allocated to resolve the PAGA claims, and Settlement
Administration Costs estimated to be $ . The exact amount of the attorneys’ fees, litigation
costs, Class Representative Service Award, PAGA payment, and administration costs will be
determined by the Court at a Final Approval Hearing, but will not exceed the amounts set forth above.
The remaining portion of the Settlement, the “Net Settlement Amount” or “NSA” is estimated to be
approximately $ . The NSA will be apportioned and paid out entirely to all Participating
Class Members. “Participating Class Members” include any Class Member who submits a timely and
valid Claim Form.

Page 4 of 10

QUESTIONS? CALL TOLL FREE 1-800~

 

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 36 of 44 Page |D #:599

No portion of the NSA will be returned to Atlas under any circumstances

Participating Class Members who submit a valid and timely Claim Form will receive their share of the
NSA based on the number of Compensable Workweeks he or she qualified to drive and did drive
under Atlas’ United States Department of Transportation Authority during the period from October
25, 2012 through , 2017, (“Class Period”). The Settlement Administrator will calculate the
number of Compensable Workweeks by calculating the number of days each Settlement Class
Member was qualified to drive under Defendant’s United States Department of Transpoitation
Authority during the Class Period, dividing by seven (7), and rounding up to the nearest whole
number. Here’s how it works -the NSA will be entirely paid out to all Participating Class Members.
The amount allocated to each individual Participating Class Member will be based on (a) the
individual Participating Class Member’s number of Compensable Workweeks during the Class Period,

(b) divided by the sum of all Compensable Workweeks worked by all Participating Class Members
during the Class Period (c) multiplied by the NSA.

8. How much will my Settlement Payment be?

The estimated amount of your Settlement Payment is shown on the enclosed Claim Form. This is only

an estimate. The actual amount you receive may be slightly more or less than the estimated amount
shown.

9. What do I do if my dates of qualification are Wrong?

As described above, the amount of your lndividual Settlement Payment will be based on the number
of Compensable Weeks you qualified to drive and did drive under Atlas’ United States Department of
Transportation Authority any time during the Class Period. The dates of your qualification as a Class
Member are shown on the Claim Form and determined based upon Atlas’ records. lf you believe the
dates of qualification are not accurate, you may send a letter to the Settlement Administrator
indicating what you believe to be the correct dates. Your letter must be postmarked on or before

, 2017 (45 days of notice mailing). You should include any documents or other information
Which supports your belief regarding the dates of qualification as a Class Member. The Settlement
Administrator will resolve any dispute regarding the dates of qualification, or number of Compensable
Workweeks based on Atlas’ records and any information you provide. The dates of qualification

supplied by Atlas will be presumed correct unless you supply company records from Atlas showing
different dates of qualificationl

 

10. How Do I get my Individual Settlement Payment?

If you submit a valid and timely Claim Form, you will receive your Settlement Payment after the

Court approves the Settlement at a final fairness/final approval hearing. You must, however, notify

the Settlement Administrator of any change in your name, mailing address and/or telephone number if

the information shown on the Claim Form is not correct. It is your responsibility to keep the

Settlement Administrator informed of any change in your address. Your Individual Settlement

Payment Will be mailed to the last known address it has on file for you. A Change of Address
Page 5 of 10

QUESTIONS? CALL TOLL FREE 1-800-

 

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 37 of 44 Page |D #:600

Form and pre-printed return is enclosed for your convenience You may also fax the Change of
Address form to the following number: (800) . lt is strongly recommended that you
retain a copy of the completed Change of Address form until you receive your Settlement Payment.

Participating Class Members receiving an lndividual Settlement Payment will be responsible for
correctly characterizing this compensation for tax purposes and paying taxes due, if any.

l 11. What am I giving up to get an Individual Settlement Payment?

Unless you request to be excluded from the Settlement, you stay part of the Settlement Class and that
means that you cannot sue, continue to sue, or be part of any other lawsuit against Atlas about the
legal issues arising in this case arising during the Class Period. Specifically, you will be giving up or
“releasing” the claims described below:

Release of Claims: After the Court has approved the Settlement, each Settlement Class
Member Who has not submitted a timely and valid request to be excluded from the Settlement will be
bound by the approval and judgment and thereby release Atlas and its past, present and/or future,
direct and/or indirect, officers, directors, employees, agents, representatives, attorneys, insurers,
partners, investors, shareholders, administrators, parent companies, subsidiaries, affiliates, divisions,
predecessors, successors, assigns, and joint venturers and any alleged joint employers (“Released
Parties”), from all claims alleged or that could have been alleged in the operative complaint based on
the facts, allegations, and legal theories raised in the operative complaint including all of the following
claims, actions, demands, causes of action, suits, debts, obligations, damages, rights or liabilities, of
any nature and description whatsoever (whether or not the factual cause of the alleged underpayment
or violation was alleged with particularity in the operative complaint): (a) failure to pay minimum
wages, straight time wages, or overtime wages; (b) failure to provide proper meal and rest periods, to
properly provide premium pay in lieu thereof, or to properly calculate premium pay in lieu of meal
and rest periods; (c) failure to reimburse or indemnify employees for losses or expenditures incurred;
(d) failure to provide complete and/or accurate wage statements; (e) failure to timely pay wages due or
final wages due; (f) unfair business practices; (g) civil penalties under the Private Attorneys General
Act (“PAGA”); (h) misclassification of employees as independent contractors; (i) Willful
misclassification of employees as independent contractors; (i) any other claims or penalties under
the wage and hour laws pleaded in the Action; (k) any other claims or penalties under the wage and
hour laws pleaded in the Action or that could have been pleaded in the operative complaint against the
Released Parties based on the facts alleged in the operative complaint pursuant to Labor Code sections
201, 202, 203, 204, 210, 218.5, 218.6, 221, 223, 226, 226.3, 226.7, 226.8, 400-410, 510, 512, 558,
1193.6, 1194, 1194.2, 1197, 1197.1, 1198, 2802, 2699 et seq., Business & Professions Code section
17200 et seq., Code of Civil Procedure section 1021.5, 29 C.F.R. § 785.22, applicable sections of
the California Industrial Wage Orders, and applicable sections of the California Code of Regulations,
all claimed or unclaimed compensatory, consequential, incidental, liquidated, punitive and exemplary
damages, penalties, restitution, interest, costs and attorneys’ fees, injunctive or equitable relief, and
any other remedies available at law or equity, and other amounts recoverable under said causes of
action under California and federal law, to the extent permissible, including but not limited to the
California Labor Code as to the facts, legal theories, and causes of action alleged in the operative
complaint, the applicable Wage Orders as to the facts, legal theories, and causes of action alleged in
the operative complaint, and the California Unfair Competition Law as to the facts, legal theories, and

Page 6 of 10

QUESTIONS? CALL TOLL FREE 1-800-

 

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 38 of 44 Page |D #:601

causes of action alleged in the operative complaint (collectively, the “Released Claims”). The period
of the Release shall extend to the limits of the Class Period The res judicata effect of the Judgment
will be the same as that of the Release. The definition of Released Claims shall not be limited in any
way by the possibility that Plaintiff or Settlement Class Members may discover new facts or legal
theories or legal arguments not alleged in the operative complaint but which might serve as an
alternative basis for pursuing the same claims, causes of action, or legal theories of relief falling
within the definition of Released Claims.

 

12. How do I get out of the Settlement?

If you wish to pursue your own separate lawsuit against Atlas for the claims asserted in the Lawsuit, or
if you otherwise wish not to participate in the Settlement for whatever reason, you should exclude
yourself from this case (that is, opt out of the Settlement). To opt out and exclude yourself from the
case and the Settlement, you must provide a signed and dated letter to the Settlement Administrator
requesting to be excluded The letter must state in substance:

“1 wish to exclude myself from the settlement reached in the matter of Leitzhach v. Atlas Van LirzesJ
Irzc., Case No. Case No. 2:16-cv-08790-GW-E. 1 understand that by excluding myself, l will not
receive any money from the settlement reached in this matter.”

The opt out request letter must be signed, and include your full name, current address, telephone
number, and last four digits of your Social Security number, and must be postmarked and returned to
the Settlement Administrator at the following address on or before , 2017 (45 days
after notice). Requests postmarked after this date may be disregarded

ATLAS VAN LINES CLASS ACTION
Settlement Administrator

c/o , lnc.
P. O. Box
13. If I don’t exclude myself, can I sue Atlas for the same thing later?

 

No. Unless you exclude yourself, you give up any right to sue Atlas for the claims that this Settlement

resolves for the period from October 25, 2012 through , 2017. If you have a pending
lawsuit speak to your lawyer in that case immediately You must exclude yourself from this Class to
continue your own lawsuit. Remember, the Response Deadline is , 2017.
14. If I exclude mvself., can I get money from this Settlement?

 

No. lf you exclude yourself, you will no longer be a Settlement Class Member and will not receive an
lndividual Settlement Payment. The lndividual Settlement Payment that you would have been entitled

Page 7 of 10

QUESTIONS? CALL TOLL FREE 1-800-

 

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 39 of 44 Page |D #:602

to receive will remain in the Net Settlement Amount and be subject to distribution to the Participating
Class Members.

 

15. How do I tell the Court that I don’t like the Settlement?

lf you do not think the Settlement is fair, you can object to the Settlement and tell the Court that you
don’t agree With the Settlement or some part of it. The Court will consider your views. To obj ect, you
must send a letter, which you sign, saying that you object to the settlement of Frank Leitzbach v. Atlas
Van Lines, lnc., Case No. 2:16-cv-08790-GW-E. Be sure to include the case name and case number
(as shown in the preceding sentence), your name, the last four digits of your Social Security number,
address, the specific reasons you object to the terms of the settlement and your signature If you wish
to speak at the Final Approval Hearing, you must also indicate in your objection letter that you intend
to appear at the Final Approval Hearing. See, Paragraph 18, below. Mail the objection to the address

listed below. The objection must be postmarked on or before , 2017, (45 days after
mailing).

Mail To:

ATLAS CLASS ACTION
Settlement Administrator
c/o , lnc.

P. O. Box

9

16. What is the difference between obiecting and excluding?

Objecting is simply telling the Court that you do not like something about the Settlement. You may
object only if you remain a Settlement Class Member. Excluding yourself is telling the Court that you
do not want to be a Settlement Class Member. lf you exclude yourself, you have no basis to object
because the case no longer affects you.

lf you object to any of the terms of the Settlement, the Court will consider your objections when
deciding whether to grant final approval to the Settlement.

 

17 . When and where Will the Court decide Whether to approve the settlement?

The Court will hold a Final Approval Hearing in Courtroom 9D of the United States District Court for
the Central District of California located at 350 West 1st Street, Los Angeles, CA, 90012 on
2017, at _ a.m. At this hearing the Court will determine whether the Settlement

should be finally approved as fair, reasonable, and adequate. The Court will also be asked to approve
Page 8 of 10

QUESTIONS? CALL TOLL FREE 1-800-

 

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 40 of 44 Page |D #:603

Class Counsel’s request for attorneys’ fees and litigation costs, the Class Representative Service
Award, the PAGA payment, and the Settlement Administrator’s costs.

The Court may reschedule the Final Approval Hearing without further notice to Class Members.
However, any Class Member who indicated in their objection letter their intention to appear at the

Final Approval Hearing will be notified by Class Counsel of any rescheduling of the date and time of
the Final Approval Hearing.

18. Do I have to come to the hearing?

No. Class Counsel will answer any questions the Judge may have. But, you are welcome to come at
your own expense. If you send an objection, you do not have to come to Court to talk about it. As
long as you have mailed or faxed your written objection on time, the Court will consider it. You may
also hire and pay your own lawyer to attend if you so desire.

19. Mav I speak at the hearing?

You may ask the Court for permission to speak at the Final Approval Hearing. lf you wish to speak at
the Final Approval Hearing, you must indicate your intention to speak at the Final Approval Hearing
in your objection letter. See, Paragraphs 15, 18 above. You cannot speak at the hearing if you have
excluded yourself from the Settlement.

 

20. Who mav I contact if I have questions about the Settlement?

You may contact Counsel for Plaintiff, Class Counsel, at the contact information listed above in
Paragraph 6 if you have any questions about the Settlement. You may also contact the Court-
appointed Settlement Administrator by calling toll free 1- , or you can write to the
Settlement Administrator, at the address shown in Paragraph 15.

PLEASE DO NOT CONTACT THE CLERK OF THE COURT, THE JUDGE, ATLAS, OR
ITS ATTORNEYS FOR INFORMATION.

 

A. Atlas supports the Settlement and Will not retaliate in any manner Whatsoever against any
Participating Class Member who stays in the Class and receives his/her lndividual Settlement
Payment, Settlement Class Member who stays in the Class and does not receive an lndividual
Settlement Payment, requests to be excluded from the Settlement or objects to the Settlement.

B. It is your responsibility to ensure that the Settlement Administrator has your current
mailing address and telephone number on file, as this will be the address to which your lndividual

Page 9 of 10

QUESTIONS? CALL TOLL FREE 1~800-

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 41 of 44 Page |D #:604

Settlement Payment will be sent if you did not request to exclude yourself from the case and the
Settlement.

C. Individual Settlement Payment checks must be cashed soon after receipt. Monies
represented by checks that remain uncashed 180 days after the date of issuance will be voided and the
monies represented by those uncashed checks will be remitted to the California lndustrial Relations
Unpaid Wage Fund to handle on your behalf. lf your check is lost or misplaced, you should contact
the Settlement Administrator immediately to request a replacement.

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Page 10 of 10

QUESTIONS? CALL TOLL FREE 1~800-

 

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 42 of 44 Page |D #:605

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CLAIM FORlV[

Frank Leitzbach v. Atlas Van Lines, Inc.
Case No. 2:16-cv-08790-GW-E

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T() RECEIVE A PAYMENT, YOU MUST SIGN AND SUBMIT
THIS FORM BY |DATE].

Return this Claim Form to:
SETTLEMENT ADMINISTRATOR
ADDRESS l
CITY, STATE, ZIP
FAX NO.; E~MAlL

 

 

 

Class Member Name Name:
Addressl Address 1:
AddressZ Address 2:
City, State, Zip City, State, Zip:

You are receiving this Claim Form because you Were a California resident who was qualified to drive
under Atlas Van Lines, lnc.’s (“Atlas”) United States Department of Transportation Authority at some
time from October 25, 2012 through [date] and you actually contracted and drove for Atlas or one of its
Agents during that period (“Class Member”).

Atlas’ records show that you were qualified during Compensable Workweeks Based on those
records, your estimated payment is $ . You may be entitled to a larger payment, based upon
the number of Class Members that actually submit a valid and timely Claim Form.

1 want to participate in and collect money as part of the settlement of this action. 1 understand that 1 am
giving up and releasing my rights to pursue any and all claims that were alleged or that could have been
alleged in the operative complaint based on the facts, allegations, and legal theories raised in the operative
complaint including all of the following claims, actions, demands, causes of action, suits, debts,
obligations, damages, rights or liabilities, of any nature and description whatsoever (whether or not the
factual cause of the alleged underpayment or violation was alleged with particularity in the operative
complaint): (a) failure to pay minimum wages, straight time wages, or overtime wages; (b) failure to
provide proper meal and rest periods, to properly provide premium pay in lieu thereof, or to properly
calculate premium pay in lieu of meal and rest periods; (c) failure to reimburse or indemnify employees
for losses or expenditures incurred; (d) failure to provide complete and/or accurate wage statements; (e)
failure to timely pay wages due or final wages due; (f) unfair business practices; (g) civil penalties under
the Private Attorneys General Act (“PAGA”); (h) misclassification of employees as independent
contractors; (i) willful misclassification of employees as independent contractors; (j) any other claims or
penalties under the wage and hour laws pleaded in the Action; (k) any other claims or penalties under the
wage and hour laws pleaded in the operative complaint or that could have been pleaded in the operative
complaint against the Released Parties based on the facts alleged in the operative complaint pursuant to
Labor Code sections 201, 202, 203, 204, 210, 218.5, 218.6, 221, 223, 226, 226.3, 226.7, 226.8, 400-410,
510, 512, 558, 1193.6, 1194, 1194.2, 1197, 1197.1, 1198, 2802, 2699 et seq., Business & Professions
Code section 17200 et seq., Code of Civil Procedure section 1021.5, 29 C.F.R. § 785.22, applicable
sections of the California lndustrial Wage Orders, and applicable sections of the California Code of
Regulations, all claimed or unclaimed compensatory, consequential, incidental, liquidated, punitive and
exemplary damages, penalties, restitution, interest, costs and attorneys’ fees, injunctive or equitable relief,
and any other remedies available at law or equity, and other amounts recoverable under said causes of
action under California and federal law, to the extent permissible, including but not limited to the

Questions? Please call 800-_-
Fax Number: 800- __ - / E-Mail: @

 

 

Case 2:16-cv-08790-GW-E Document 44 Filed 11/27/17 Page 44 of 44 Page |D #:607

California Labor Code as to the facts, legal theories, and causes of action alleged in the operative
complaint, the applicable Wage Orders as to the facts, legal theories, and causes of action alleged in the
operative complaint, and the California Unfair Competition Law as to the facts, legal theories, and causes
of action alleged in the operative complaint (collectively, the “Released Claims”).

 

 

Signature Date

]f you disagree with the employment dates listed above, please contact the Settlement Administrator
immediately You will be asked to provide documents to support your dispute

Atlas will not take any adverse action against you and will not
target, retaliate, or discriminate against you because of your decision to either
participate or not participate in th is Settlement.

32081294.1

Questions? Please call 800-_-
Fax Number: 800- _ - / E~Mail: @

 

 

